
83 So. 3d 754 (2011)
William Earl JACOBS, Jr., Petitioner,
v.
STATE of Florida, Respondent.
No. 5D11-1974.
District Court of Appeal of Florida, Fifth District.
August 5, 2011.
William E. Jacobs, Jr., Lake Butler, pro se.
Pamela Jo Bondi, Attorney General, Tallahassee and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion will be filed with the lower court and be treated as the notice of appeal from the order denying *755 the motion for post-conviction relief in Case No. 08-32394-CFAES in the Circuit Court in and for Volusia County. See Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
SAWAYA, LAWSON and COHEN, JJ., concur.
